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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:
 Northern District of Florida

 Case number pr known):                                          Chapter you are filing under:
                                                                 I~ Chapter 7
                                                                 ❑ Chapter it
                                                                 ❑ Chapter l2
                                                                 ❑ Chapter 13                                                 ❑
                                                                                                                              X   Check if this is an
                                                                                                                                  amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                oafzo
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and In Joint cases, these forms use you to ask for Information from both debtors. For example, If a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car, When information is needed about the spouses separately, the form uses Debtor 1 and
Debfor 2 to distinguish between them. In joint cases:, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:    Identify Yourself

                                    About Debtor ~:                                                About Deblor 2 (Spouse Only in a Joint Case):

t. Your full name
   Write the name that is on your
                                     Maxine
   government-issued picture
                                    First name                                                     First name
   identification (for example,
   your driver's license or          Radjune
   passport).                       Middle name                                                    Middle name

   Bring your picture                Payton
   identification to your meeting   Last name                                                      Last name
   with the trustee.
                                     Suffx (Sr., Jr., II, III)                                     Suffx (Sr., Jc, II, III)




z. All other names you               Maxine
   have used in the last S           First name                                                    First name
   years                             Payton
   Include your married or           Middle name                                                    Middle name
   maiden names.                     Denegall
                                     Lasl name                                                     Last name


                                     First name                                                     First name

                                     Middle name                                                    Middle name

                                     Last name                                                      Last name




3. Only the last 4 digits of
   your Social Security              xxx      — xx —             2     3       1     4              xxx     — xx —
   number or federal                 OR                                                            OR
   Individual Taxpayer
   Identification number             9xx-xx-
   (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1     Maxine R. Payton                                                                       Case number pr e~owm
             First Name   Mitltlle Name               pan Nama




                                          About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


a. Any business names
   and Employer                           0     I have not used any business names or EINs.               ❑ I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                       Business name                                                  Business name
   Include trade names and
   doing business as names                Business name                                                  Business name



                                          EIN                                                            EIN



                                          EIN                                                             EIN




s. Where you live                                                                                        If Debtor 2 lives at a different address:



                                          4263 HeathenNood Drive
                                          Number         Street                                           Number         Street




                                          Tallahassee                          FL        32309
                                          City                                 State     ZIP Code         City                                  State    ZIP Code

                                          LEON
                                          County                                                          County


                                          If your mailing address is different from the one               If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send           yours, fill it in here. Note that the court will send
                                          any notices to you at this mailing address.                     any notices to this mailing address.



                                          Number         Street                                           Number         Street



                                          P.O. Box                                                        P.O. Boz



                                          City                                 State     ZIP Code         City                                  Stale    ZIP Code




e. Why you are choosing                   Check one:                                                      Check one:
   this district to file for
                                          !~ Over the last 180 days before filing this petition,          ❑ Over the last 180 days before filing this petition,
   bankruptcy
                                             I have lived in this district longer than in any               I have lived in this district longer than in any
                                             other district.                                                other district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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Debtor t     Maxine R. Pavton                                                                    Case number ~nkaow~~
             r~~si came   M'ieeia Name            Iasi rvama



           Tell the Court About Your Bankruptcy Case


~. The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(6) for Individuals Filing
   Bankruptcy Code you                   for Bankruptcy (Foam 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                         8 Chapter 7
   under
                                         ❑ Chapter 11

                                         ❑ Chapter 12

                                         ❑ Chapter 13


e. How you will pay the fee              0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                           local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                           with apre-pri;lted address.

                                         ❑ I need to pay the fee in installments. If you choose this option, sign and attach the
                                           Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                           By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                           less than 150% of the offcial poverty line that applies to your family size and you are unable to
                                           pay the fee in installments). If you choose this option, you must fll out the Application to Have the
                                           Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


e. Have you filed for                    0 No
   bankruptcy within the
   last 8 years?                         ❑ Yes. District                               When                       Case number
                                                                                               MM/ DD IVYVV
                                                  District                             When                       Case number
                                                                                               MM/ DDIVYVY
                                                  District                             When                       Case number
                                                                                               MM/ DD IYYYY


to. Are any bankruptcy                   la No
    cases pending or being
    filed by a spouse who is             ❑ Yes. Debtor                                                            Relationship to you
    not filing this case with                     District _                           When                       Case number, if known
    you, or by a business                                                                      MM/DD /YYYV
    partner, or by an
    affiliate?
                                                  Debtor                                                          Relationship to you
                                                  District                             When                       Case number, if known
                                                                                               MM IDDf YYYY


tt. Do you rent your                       No.    Go to line 12.
    residence?                           ❑ Yes    Has your landlord obtained an eviction judgment against you?
                                                  ❑ No. Go to line 12.
                                                  ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and f le it as
                                                    part of this bankruptcy petition.




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      Maxine R. Payton                                                                    Case numberin x~ow„I
             First Name     Mi001e Name             Last Name




Part 3:    Repor! About Any Businesses You Own as a Sole Proprietor


1z. Are you a sole proprietor             ❑ No. Go to Part h.
    of any full- or part-time
    business?                             ® Yes. Name ano location of business
   A sole proprietorship is a
   business you operate as an
   individual, and is not a                       Name of business, if any
   separate legal entity such as
   a corporation, partnership, or
   LLC.                                           Number        Street
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                    City                                                  State          ZIP Cotle


                                                  Check the appropriate box to describe your business:
                                                  ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(516))
                                                  ❑ Stockl~~roker (as defined in 11 U.S.C. § 101(53A))
                                                  ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  ❑ None of the above


19. Are you filing under                  1/you are tiling under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                     choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                  are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. ~ 1116(1)(8).
    debtor or a debtor as
    defined by 11 U.S. C. §               0 No. I am not filing under Chapter 11.
    1182(1)?                              ❑ No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                   the Bankruptcy Code.
    business debtor, see
                                          ❑ Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
    11 U.S.C. § 101(51D).
                                                 Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                          ❑ Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




 Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1      Maxine R. Payton                                                                   Casa number tne~owro
              Flrsl Name    Mitltlle Name           Lasl Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 ta. Do you own or have any                 Fa No
     property that poses or is
     alleged to pose a threat               ❑ Yes    What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                             If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                      Where is the property?
                                                                               Number       Street




                                                                               City                                     Stale   ZIP Code




  Offcial Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                          page 5
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Debtor 1       Maxine R.  Pavton                                                                 Case number i✓x~e.ei
              rim came mmaie Name              Iasi Name



Part 5:    Explain Your EHorts to Reeeive a Briefing About Credit Counseling

                                      About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
    you have received a
    briefing about credit             You must check ore:                                               You must check one:
    counseling.                       ~ I received a briefing from an approved credit                   ❑ I received a briefing from an approved credit
                                        counseling agency within the 180 days before I                    counseling agency within the 180 days before I
    The law requires that you           filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
    receive a briefing about credit     certificate of completion.                                        certificate of completion.
    counseling before you file for      Attach a copy of the certificate and the payment                  Attach a copy of the certificate and the payment
    bankruptcy. You must                plan, i(any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you         ❑ I received a briefing from an approved credit                   ❑ I received a briefing from an approved credit
    cannot do so, you are not           counseling agency within the 180 days before I                    counseling agency within the 180 days before I
    eligible to file.                   filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                        certificate of completion.                                        certificate of completion.
    If you file anyway, the court       Within 14 days after you file this bankruptcy petition,           Within 14 days a8er you file this bankruptcy petition,
    can dismiss your case, you          you MUST file a copy of the certificate and payment               you MUST file a copy of the certificate and payment
    will lose whatever filing fee       plan, if any.                                                     plan, if any.
    you paid, and your creditors
    can begin collection activities   ❑ I certify that I asked for credit counseling                    ❑ I certify that I asked for credit counseling
    again.                              services from an approved agency, but was                         services from an approved agency, but was
                                        unable to obtain those services during the 7                      unable to obtain those services during the 7
                                        days after I made my request, and exigent                          days after I made my request, and exigent
                                        circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                         of the requirement.                                               of the requirement.

                                         To ask fora 30-day temporary waiver of the                         To ask fora 30-day temporary waiver of the
                                         requirement, at.ach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                         what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                         you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                         bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                    required you to file this case.

                                         Your case maybe dismissed if the court is                          Your case may be dismissed it the court is
                                         dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                         If the court is satisfed with your reasons, you must               If the court is satisfied with your reasons, you must
                                         still receive a briefng within 30 days after you fie.              still receive a briefing within 30 days after you file.
                                         You must file a certifcate from the approved                       You must file a certificate from the approved
                                         agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                         developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                         may be dismissed.                                                  may be dismissed.
                                         Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                         days.                                                              days.

                                      ❑ 1 am not required to receive a briefing about                   ❑ I am not required to receive a briefing about
                                        credit counseling because of:                                     credit counseling because of:

                                          ❑ Incapacity. I have a mental illness or a mental                 ❑ Incapacity. I have a mental illness or a mental
                                                        deficiency that makes me                                          deficiency that makes me
                                                        incapable of realizing or making                                  incapable of realizing or making
                                                        rational decisions about finances.                                rational decisions about finances.

                                          ❑ Disability.     My physical disability causes me                ❑ Disability.      My physical disability causes me
                                                            to be unable to participate in a                                   to be unable to participate in a
                                                            briefing in person, by phone, or                                   briefing in person, by phone, or
                                                            through the internet, even aNer I                                  through the internet, even after I
                                                            reasonably tried to do so.                                         reasonably tried to do so.
                                          ❑ Active duty. I am currently on active military                  ❑ Active duty. I am currently on active military
                                                         duty in a military combat zone.                                   duty in a military combat zone.
                                          If you believe you are not required to receive a                  If you believe you are not required to receive a
                                          briefing about credit counseling, you must file a                 briefng about credit counseling, you must file a
                                          motion for waiver of credit counseling with the court.            motion for waiver of credit counseling with the court.




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Debtor 1      Maxine R. Payton                                                                          Case number (;7knnwn)
             First Name    Middle Name              Last Nan~.e




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
~s. What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                              ❑ No. Go to line 16b.
                                              0 Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business §lebts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              ❑ No. Go to line 16c.
                                              ❑ Yes. Go t~ line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



i~. Are you filing under
    Chapter 7?                           ❑ No. I am not firing under Chapter 7. Go to line 18.

   Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                      ~ No
   administrative expenses
   are paid that funds will be       ❑ Yes
   available for distribution
   to unsecured creditors?

~s. How many creditors do                0   1-49                                     ❑ 1,000-5,000                             ❑ 25,001-50,000
    you estimate that you                ❑   50-99                                    ❑ 5,001-10,000                            ❑ 50,001-100,000
    owe?                                 ❑   100-199                                  ❑ 10,001-25,000                           ❑ More than 100,000
                                         ❑   200-999

~s. How much do you                      ❑   $0-$50,000                               ❑   $1,000,001-$10 million                ❑   $500,000,001-$1 billion
    estimate your assets to              0   $50,001-$100,f)00                        ❑   $10,000,001-$50 million               ❑   $1,000,000,001-$10 billion
    be worth?                            ❑   $100,001-$500,000                        ❑   $50,000,001-$100 million              ❑   $10,000,000,001-S50 billion
                                         ❑   $500,001-$1 mtllion                      ❑   $100,000,001-$500 million             ❑   More than $50 billion

20. How much do you                      ❑   $0-$50,000                               ❑   $1,000,001-$10 million                ❑   $500,000,001-$1 billion
    estimate your liabilities            0   $50,001-$100,000                         ❑   $10,000,001-$50 million               ❑   $1,000,000,001-$10 billion
    to be?                               ❑   $100,001-$500,000                        ❑   $50,000,001-$100 million              ❑   $10,000,000,001-S50 billion
                                         ❑   $500,001-$1 million                      ❑   $100,000,001-$500 million             ❑   More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy ;-ase can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.~:'~. §§ 152, 13~,~9, and 3571.

                                         x                                                                  x
                                             Signature of DE~btor 1                                             Signature of Debtor 2

                                             Executed on
                                                                  3 Z3 ~~-~                                     Executed on
                                                                  MM   / DD   / YYY                                             MM / DD    / YYYY


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Debtor 1     Maxine R. Payton                                                                      Case numher prwno.nl
             c',,s~Hama   nn~aaie u.ma              ~as~ N,~,a



                                         I, the attorney (or the debtors) named in this petition, declare that I have informed the debtors) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtors)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules fled with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         X                                                                 Date
                                             Signature of Atta ney for Debtor                                              MM   /     DD I VYYY




                                             Primed name


                                             Firm name


                                             Number      Street




                                             City                                                          State           ZIP Code




                                             Contact phone                                                 Email address




                                             Bar number                                                    State




   Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                    page 8
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Debtor 1      Maxine R. Payton                                                                Case   number (il known)
             First Name   P~1iddle Name          Last Name




For you if you are filing this            The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                     should understand that many people find it extremely difficult to represent
attorney                                  themselves successfully. Because bankruptcy has long-term financial and legal
                                          consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                   To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                   technical, and a mistake or inaction may affect your rights. For example, your case may be
                                          dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                          hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                          firm if your case is selected for audit. If that happens, you could lose your right to file another
                                          case, or you may lose protections, including the benefit of the automatic stay.

                                          You must list all your property and debts in the schedules that you are required to file with the
                                          court. Even if ~/ou plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                          in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                          property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                          also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                          case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                          cases are rancJomly audited to determine if debtors have been accurate, truthful, and complete.
                                          Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                          If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                          hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                          successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                          Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                          be familiar with any state exemption laws that apply.

                                          Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                          consequences?
                                          ❑ No
                                          0   Yes

                                          Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                          inaccurate or ;,~tcomplete, you could be fined or imprisoned?
                                          ❑ No
                                          0   Yes

                                          Did you pay o:' agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                          ❑ No
                                          ~   Yes. Name of Person Cynthia Turner
                                                   Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                          By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                          have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                          attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                                                                  x
                                           Signature of Debtor 1                                         Signature of Debtor 2

                                          Date                3 Z3 '^' —/                                Date
                                                             b~M / DD / YYY                                               MM / DD / YYYY

                                          Contact phone                                                  Contact phone

                                          Cell phone         X850) 339-6393                              Cell phone

                                          Email address      =naxpayton42@gmail.com                      Email address


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FB 201A (Form 201A)(6/14)


                            UNITED STATES BANKRUPTCY COURT

                     NOTICE TO CONSUMER DEBTORS) UNDER §342(b)
                              OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of [he Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy procccdings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankmptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

        Notices from the bankmptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankmptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a Tinancial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A tmstee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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         Form B 201 A, Notice to Consumer Debtors)                                                         Page 2

yow discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in yotu bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can
prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which aze not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

       Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
       Chapter 12 is designed to permit family fanners and fishermen to repay their debts over a period of time from
futwe earnings and is similar to chapter 13. The eligibility requirements aze restrictive, limiting its use to those
whose income arises primarily from afamily-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United Slates Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and genera] financial condition. Your bankruptcy case may be dismissed if
this information is not tiled with the court within the time deadlines se[ by the Bankruptcy Code, [he Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed otr Form B200, which is posted at
htta://www.uscourts.gov/bkforms bankruptcv fonns.hunl#arocedure.
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Fill in this information to identify your case:

Debter t           Maxine                     R.                          Payton
                    First Name                 Miaale Name                Las~Name

Debtor 2
(Sp0119B, f fi fl9) Fitsl Neme                 MiO~la Neme                Lesl Nama


United States Bankruptcy Court for the: Northern District of Florida
Case number                                                                                                                                 ❑ Check if this is an
 (l( known)                                                                                                                                   amended fling




  Official Form 108
  Statement of Intention far Individuals Filing Under Chapter 7                                                                                            2/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  ■ creditors have claims secured by your property, or
  ■ you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days. after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral               What do you intend to do with the property that   Dld you claim the property
                                                                                      secures a debt?                                   as exempt on Schedule C7

           Creditor's                                                                 ❑ Surrender the property.                         ,❑ No
           name:           Bank of America                                                                                              d
                                                                                      ❑ Retain the property and redeem it.              ~ Yes
          Description or Mortgage on Mobile Home &. Land                                 Retain the property and enter into a
          property
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                      ❑ Retain the property and [explain]:



          Creditor's                                                                  ❑ Surrender the property.                         ❑ No
          name:
                                                                                      ❑ Retain the property and redeem it.              ❑ Yes
          Description of
                                                                                      ❑ Retain the property and enter into a
          property
          securing debt:                                                                Reaffirmation Agreement.
                                                                                      ❑ Retain the property and [explain]:



           Creditor's                                                                 ❑ Surrender the property.                         ❑ No
           name:
                                                                                      ❑ Retain the property and redeem it.              ❑ Yes
          Description of
          property                                                                    ❑ Retain the property and enter into a
          securing debt:                                                                Reaffirmation Agreement.
                                                                                      ❑ Retain the property and [explain]:



           Creditor's                                                                 ❑ Surrender the property.                         ❑ No
           name:
                                                                                      ❑ Retain the property and redeem it.              ❑ Yes
          Description of
          property                                                                    ❑ Retain the property and enter into a
          securing debt:                                                                Reaffirmation Agreement.
                                                                                      ❑ Retain the property and [explain]:



   Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                   paoe 1
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 Debtor 1            Maxine                          R.                      Payton                      Case number (1(known)
                     first Name        Middle Name           Last Name




                     List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                         Will the lease be assumed?

       Lessor's name:                                                                                                            ❑ No
                                                                                                                                 ❑ Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            ❑ No
                                                                                                                                 ❑ Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            ❑ No

       Description of leased                                                                                                     ❑ Yes
       property:


       Lessor's name:                                                                                                            ❑ No
                                                                                                                                 ❑ Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            ❑ No
                                                                                                                                 ❑ Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            ❑ No
                                                                                                                                 ❑ Yes
       Description of leased
       property:


       Lessor's name:                                                                                                            ❑ No
                                                                                                                                 ❑ Yes
       Description of leased
       property:




  Part 3:            Sign Below



     Under penalty of perjury, I declare that I have inc'icated my intention about any property of my estate that secures a debt and any
     per~gnal property that is subject to an unexpired lease.


                                                                         x
       Signature Of Debtor                                                   Signature of Debtor 2
               JS                  ~~~ ~
                         Z~       ~~"`~1
       Date                                                                  Date
              MM /       D    /   YY                                                MM /   DD /   YYYY




Official Form 108                                         Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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FLNB Lacal Form 36 X05/11)



                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                       TALLAHASSEE          DISTRICT

In re:                                                              Case No.:

Maxine R. Payton                                                    Chapter : 7




Debtor(sj

                                  Verification of Creditor Mailing Matrix

   I/We, the above named Debtor(sj, do hereby verify under penalty of perjury that the mailing matrix
(list of creditors) attached or previously filed in this case is true and correct to the best of my/our
knowledge.




N.~~
Debtor Signature                                                            Date
                                                                                ~ 23 2~ ~

Maxine R. Payton
Printed Name of Debtor


Joint Debtor Signature (if applicable)                                      Date


Printed Name of Joint Debtor
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American Express                  Leon County Clerk of Courts
P.O. Box 981537                   301 South Monroe Street
EI Paso, TX 79998                 Tallahassee, FL 32301



American Express National Bank    Nelnet Loan Services
I I S West Towne Ridge Parkway    P.O. Box 82561
Sandy, UT 84070                   L':ncoln, NE 68501



Bank of America                   The Home Depot/Citibank
P.O. Box 31785                    P.O. Box 6497
Tampa, FL 33631                   Sioux Falls, SD 57117



Capital One
P.O. Box 31293
Salt Lake City UT 84131


Credence Resource Management
4222 Trinity Mills
Suite 260
Dallas, TX 75287


Discover Financial Services
P.O. Box 15316
Wilmington, DE 19850




Fed Loan Servicing
P.O. Box 60610
Harrisburg, PA 17106



First Premier
3824 North Louise Avenue
Sioux Falls SD 57107


Joshua KnuiT
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Lending Club Corporation
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San Francisco, CA 94105
